 

Case1:98-cv-00023 MBW§?RTE§iBP§W%M/ZOOB F’MWM

SOUTHERN DISTRICT OF TEXAS

 

 

MICHAELN. Mim, clerk oFFICE 0F THE cLERK J/-\N 2 8 2005
600 E. HARRISON ST., #101 uteth N_ mm
Brownsville, Texa,s 78520 C|erk of Colll‘\
January 28, 2004
Mr. Charles R. Fulbruge, III, Clerk Re: Port Elevator et al
U.S. Court of Appeals - Fifth Circuit
600 Camp Street, Room 102 VS Ivonne Soto Vggg, et al

New Orleans, louisiana 70130
CA B-98-023 04-40638

Dear Sir:

In connection with this appeal, the following documents are transmitted Please acknowledge receipt on the
enclosed copy of this letter.

[ ] Certified copy of the notice of appeal and docket entries.

[ ] Certiiied copy of the notice of cross-appeal and docket entries.

[ ] Record of appeal consisting of ____ Volume(s) of the record; _ Volume(s) of the transcript;

[X] Supplemental record consisting of 1 vol. of the record; 8 Transcripts, including updated docket entries.

[ ] Other:

 

In regard to the notice of appeal, the following information is furnished:

[ ] The Court of Appeals docket fee X HAS/ HAS NOT been paid.

[ ] This case is proceeding in forma pauperis.

[ ] Although the Court of Appeals docket fee was not paid at the time the notice of appeal was filed, it was
PAII) ON:

 

[ ] U.S. District Judge entering final order is Hilda G. Tagle
[ ] Court reporter assigned to this case is

[ ] Ifcriminal case, number and names of defendants:

 

[ ] This case was decided without a hearing, and, therefore, there will be no transcript

Very Truly Yours,
MICHAEL N. MILBY, CLERK

Rebecca Pinales, Deputy Clerk

cc: File

